
In re Ryan-Walsh Inc.; — Defendant; applying for supervisory and/or remedial *174writs, Parish of Orleans, Civil District Court Div. A, Nos. 97-14077; to the Court of Appeal, Fourth Circuit, No. 99-C-1719.
Granted in part. That portion of the court of appeal’s judgment reversing the trial court’s grant of summary judgment as to plaintiffs wrongful death claims is reversed. See Walls v. American Optical Corp., 98-0455 (La.9/8/99), 740 So.2d 1262. In all other respects, the application is denied. Relators may re-raise these issues on appeal in the event of an adverse judgment.
CALOGERO, C.J., not on panel.
LEMMON and JOHNSON, JJ, would deny the writ.
